Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 1 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 2 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 3 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 4 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 5 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 6 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 7 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 8 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 9 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 10 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 11 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 12 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 13 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 14 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 15 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 16 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 17 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 18 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 19 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 20 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 21 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 22 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 23 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 24 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 25 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 26 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 27 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 28 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 29 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 30 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 31 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 32 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 33 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 34 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 35 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 36 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 37 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 38 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 39 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 40 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 41 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 42 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 43 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 44 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 45 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 46 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 47 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 48 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 49 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 50 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 51 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 52 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 53 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 54 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 55 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 56 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 57 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 58 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 59 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 60 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 61 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 62 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 63 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 64 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 65 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 66 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 67 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 68 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 69 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 70 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 71 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 72 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 73 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 74 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 75 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 76 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 77 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 78 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 79 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 80 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 81 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 82 of 97
         Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 83 of 97



                            XI.    CLASS ACTION ALLEGATIONS

         262.   Plaintiffs bring this action on behalf of themselves and, under Fed. R. Civ. P.

23(a) and (b)(3), as representative of a Class defined as follows:

                All persons or entities in the United States and its territories,
                including Puerto Rico, who purchased Solodyn 45mg, 55mg,
                65mg, 80 mg, 90mg, 105mg, 115mg, and/or 135mg tablets directly
                from Medicis and/or generic versions of one of more of these
                dosages from any Generic Defendant or other generic
                manufacturer at any time from July 23, 2009 until the
                anticompetitive effects of Defendants’ conduct cease (the “Class”).

Excluded from the Class are Defendants, and their officers, directors, management, employees,

subsidiaries, or affiliates, and all federal governmental entities.

         263.   Members of the Class are so numerous and geographically dispersed that joinder

is impracticable. Further, the Class is readily identifiable from information and records in the

possession of Defendants.

         264.   Plaintiffs’ claims are typical of the claims of the members of the Class. Plaintiffs

and all members of the Class were damaged by the same wrongful conduct of Defendants, i.e.,

they paid artificially inflated prices for minocycline hydrochloride extended release tablets and

were deprived of the benefits of earlier and more robust competition from cheaper generic

versions of minocycline hydrochloride extended release tablets as a result of Defendants’

wrongful conduct.

         265.   Plaintiffs will fairly and adequately protect and represent the interests of the

Class. The interests of the Plaintiffs are coincident with, and not antagonistic to, those of the

Class.

         266.   Plaintiffs are represented by counsel with experience in the prosecution of class

action antitrust litigation, and with particular experience with class action antitrust litigation

involving pharmaceutical products.


                                                  79
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 84 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 85 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 86 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 87 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 88 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 89 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 90 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 91 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 92 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 93 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 94 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 95 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 96 of 97
Case 1:14-md-02503-DJC Document 88 Filed 09/12/14 Page 97 of 97
